     Case 17-06078-MM7                Filed 07/24/19              Entered 07/26/19 21:19:07       Doc 322      Pg. 1 of 8
CSD 2062 [/1/1]
Court Telephone: (619) 557-5620       Court Hours: 9:00am-4:00pm, Monday-Friday
www.casb.uscourts.gov
Richard M Kipperman
P.O. Box 3010
La Mesa, CA 91944-3010
(619) 668-4500
Chapter 7 Trustee



             UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
            325 West F Street, San Diego, California 92101-6991

In Re


 CORE SUPPLEMENT TECHNOLOGY, INC.,
                                                                                      BANKRUPTCY NO.   17-06078-MM-07

                                                                      Debtor.




                       TRUSTEE’S NOTICE OF INTENDED ACTION AND OPPORTUNITY FOR HEARING


TO THE DEBTOR, ALL CREDITORS AND OTHER PARTIES IN INTEREST:

         You are hereby notified that the undersigned Trustee proposes to:


         Compromise or settle the following controversy [description of controversy to be settled and standards for approval of
         a settlement as required by LBR 9019]; or


        Allowance of compensation or reimbursement of expenses by trustee in the amounts indicated below [information
        required by FRBP 2002(c)(2)]; or
               Fees:
               Costs: 


 ✔       Other:

         The Trustee proposes to pay to Data Resolutions the sum of $585 per month, beginning August 2019 through
         January 2020, for data hosting in order to access historical accounting data.




IF YOU OBJECT TO THE PROPOSED ACTION:

1.       You are required to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
         assigned to this bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the caption
         on Page 1 of this notice. If the case number is followed by the letters:

                   -        MM        -         call (619) 557-7407             -   DEPARTMENT ONE (Room 218)
                   -        LA        -         call (619) 557-6594             -   DEPARTMENT TWO (Room 118)
                   -        LT        -         call (619) 557-6018             -   DEPARTMENT THREE (Room 129)
                   -        CL        -         call (619) 557-6019             -   DEPARTMENT FIVE (Room 318)

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2.          Within twenty-one (21)1days from the date of this notice, you are further required to serve a copy of your Declaration
            in Opposition and separate Request and Notice of Hearing [Local Form CSD 11842] upon the undersigned
            Trustee, together with any opposing papers. A copy of these documents must also be served upon the United
            States Trustee at  )URQW6WUHHW, Suite 0, San Diego, CA 92101. The opposing declaration must besigned
            and verified in the manner prescribed by FRBP 9011, and the declaration must :

                      a.       identify the interest of the opposing party; and

                      b.       state, with particularity, the factual and legal grounds for the opposition.

3.          You must file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service
            with the Clerk of the U.S. Bankruptcy Court at 325 West F Street, San Diego, California 92101-6991, no later than
            the next business day following the date of service.

         If you fail to serve your “Declaration in Opposition to Intended Action” and “Request and Notice of Hearing”
within the 21-day1 period provided by this notice, no hearing will take place, you will lose your opportunity for hearing, and
the Trustee may proceed to take the intended action.

Dated: July 24, 2019                                                 /S/ Richard M Kipperman
                                                                      ✔ Chapter 7 Trustee         Attorney for Chapter 7 Trustee
                                                                      Address: P.O. Box 3010
                                                                                 La Mesa, CA 91944-3010

                                                                      Phone No.: (619) 668-4500
                                                                      E-mail:    teresaj@corpmgt.com




1
    'HSHQGLQJRQKRZyou were served, \RXPD\KDYHDGGLWLRQDOWLPHIRUUHVSRQVH6HH)5%3

2
You may obtain Local Form CSD 1184 from the office of the Clerk of the U.S. Bankruptcy Court.




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                                      United States Bankruptcy Court
                                     Southern District of California
In re:                                                                                 Case No. 17-06078-MM
Core Supplement Technology, Inc.                                                       Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0974-3          User: Admin.                 Page 1 of 6                   Date Rcvd: Jul 24, 2019
                              Form ID: pdf905              Total Noticed: 271


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 26, 2019.
db            #+Core Supplement Technology, Inc.,     4645 North Ave,    Oceanside, CA 92056-3593
cr             +Bank of America, N.A.,    c/o Hemar, Rousso & Heald, LLP,     15910 Ventura Blvd., 12th Floor,
                 Encino, CA 91436-2802
cr             +Pyure Brands, LLC,    c/o Harris J. Koroglu,     Shutts & Bowen LLP,    200 S Biscayne Blvd,
                 Suite 4100,    Miami, FL 33131-2362
14343504        3M,   PO Box 844127,    Dallas, TX 75284-4127
14373504        A&A Pharmachem,    4-77 Auriga Drive,    Ottawo, Onterio Canada K2E727
14343507       +AIDP, Inc.,    19535 East Walnut Drive South,     Rowland Heights, CA 91748-2318
14373507        AM Trust North America,    P. O. Box 6939,     Cleveland, OH 44101-1939
14343520       +APP Global, Inc,    1940 S Lynx Place,    Ontario, CA 91761-8054
14343505       +Acasi Machinery Inc.,    7085 NW 46th Street,     Miami, FL 33166-5605
14373505       +Accutek,    2685 S. Melrose DR.,    Vista, CA 92081-8783
14343506       +Advanced Air & Vacuum,    1685 N. Marshall Ave,     El Cajon, CA 92020-1126
14343509       +Albion Minerals,    101 N. Main,    Clearfield, UT 84015-2243
14343510       +Alkemist Laboratories,    1260 Logan Avenue #B2,     Costa Mesa, CA 92626-4000
14455649       +Alkemist Labs,    12661 Hoover Street,    Garden Grove, CA 92841-4174
14373506      #+Allen Flavors, Inc.,    23 Progress Street,     Edison, NJ 08820-1102
14396047      #+Allen Flavors, Inc.,    Ira Steinberg, CFO,     23 Progress Street,    Edison, NJ 08820-1102
14343512       +Almax Corporation,    7 Schindler Dr,    Rockaway, NJ 07866-4811
14343513       +AlphaNutra Solution Limited,     Brown & Joseph, Ltd.,    c/o Don Leviton,    Po Box 59838,
                 Schaumburg, IL 60159-0838
14343514       +Alvar Enrique Morales,    4017 Independence Ave,     South Gate, CA 90280-2504
14343515       +Alz Chemical,    680 Village Trace,    Marietta, GA 30067-4097
14343516       +Ameri-Seal,    21330 Superior Street,    Chatsworth, CA 91311-4312
14373508       +American Labratories,    4410 S. 102nd St.,     Omaha, NE 68127-1003
14343517       +American Lecithin Company, Inc,     115 Hurley Road,    Unit 2B,    Oxford, CT 06478-1047
14343518       +American Nutrition,    718 Broadway,    Everett, MA 02149-2917
14343519       +Analytical Laboratories in Ana,     2951 Saturn Street,    Brea, CA 92821-6206
14373509       +Applied Food Science,    8708 S. Concress, Bldg. 290,     Austin, TX 78745-7379
14395819       +Applied Food Sciences, Inc.,     c/o Duane J. Brescia,    Strasburger & Price, LLP,
                 720 Brazos, Suite 700,    Austin, TX 78701-2531
14343521        Aramark,    Aus West Lockbox,    PO Box 101179,    Pasadena, CA 91189-1179
14343522        BAG Corp,    P O Box 671212,    Dallas, TX 75267-1212
14343528       +BCS,    13550 Danielson St.,    Poway, CA 92064-6874
14343523       +Banc of America Leasing,     2059 Northlake Parkway,    3rd Floor North,    Tucker, GA 30084-5321
14350299       +Banc of America Leasing & Capital, LLC,      c/o Wayne R. Terry,    Hemar, Rousso & Heald, LLP,
                 15910 Ventura Blvd., 12th Floor,     Encino, CA 91436-2829
14352733       +Bank of America,    c/o J. ALEXANDRA RHIM,     Hemar, Rousso & Heald, LLP,
                 15910 Ventura Blvd., 12th Floor,     Encino, CA 91436-2829
14343524        Bank of America,    One Independence Center,     NC1-001-05-13, 101 N. Tryon St,
                 Charlotte, NC 28255-0010
14343525        Bank of America Credit Card,     P. O. box 15731,    Wilmington, DE 19886-5731
14343526       +Bank of America NA,    2059 Northlake Pkwy,     Tucker, GA 30084-5399
14352732       +Bank of America, N.A.,    HEMAR, ROUSSO & HEALD, LLP,     c/o J. Alexandra Rhim, Esq.,
                 15910 Ventura Blvd., 12th Floor,     Encino, California 91436,      ( 91436-2802
14343965       +Bank of America, N.A.,    c/o Wayne R. Terry,     HEMAR, ROUSSO & HEALD, LLP,
                 15910 Ventura Blvd., 12th Floor,     Encino, CA 91436-2829
14407807      #+Batory Foods,    1700 E. Higgins Rd. Suite 300,     Des Plaines, IL 60018-3800
14343527        Batory Foods,    PO Box 80047,    City of Industry, CA 91716-8047
14358179       +Berlin Packaging L.L.C.,     c/o Nathan A. Schultz, Esq.,    Law Office of Nathan A. Schultz, P.C.,
                 10621 Craig Road,    Traverse City, MI 49686-9221
14358180       +Berlin Packaging L.L.C.,     c/o Brian J. Jackiw, Esq.,    Goldstein & McClintock LLLP,
                 111 W. Washington, Suite 1221,     Chicago, IL 60602-3482
14343529        Berlin Packaging LLC,    PO Box 95584,    Chicago, IL 60694-5584
14373512        Bosch Packaging Services, Inc.,     P. O. Box 95193,    Chicago, IL 60694-5193
14343531       +Busch Machinery, Inc.,    727 E 20th Street,     Tucson, AZ 85719-6620
14395603       +Business Copier Solutions,     13750 Danielson Street,    Poway, CA 92064-8889
14352049       +CIT Bank NA,    PO Box 593007,    San Antonio, TX 78259-0200
14343542       +CT Corporation System,    330 N. Brand Blvd. STE 700,     Glendale, CA 91203-2336
14343543       +CT Lien Solutions,    2727 Allen Parkway,     Houston, TX 77019-2120
14343532       +Canyon Plastics, Inc.,    28455 Livingston Ave,     Valencia, CA 91355-4173
14373513       +Capital Premium Finance,     12235 S. 800 E,    Draper, UT 84020-9726
14343533        CapsCanada,    456 Silver Creek Industrial Dr.,     Tecumeseh, ON N8N 4Y3 Canada
14373514       +Century Lable,    12836 South Dixie Highway,     Bowling Green, OH 43402-9230
14421141       +Chad Robinson,    679 Merit Dr.,    San Marcos, CA 92078-1403
14343534       +Chempoint,    411 108th Ave NE,    Bellevue, WA 98004-8402
14383378       +Christopher V. Hawkins, Esq.,     Sullivan Hill Lewin Rez& Engel APLC,
                 550 West C Street, Suite 1500,     San Diego, CA 92101-3570
14343535       +ChromaDex Inc.,    10005 Muirlands Blvd.,     Suite G 1st Floor,    Irvine, CA 92618-2538
14439251       +City of Oceanside,,    Office of the City Attorney,     300 North Coast Highway,
                 Oceanside, CA 92054-2824
14343536        Clark Pest Control,    PO Box 1480,    Lodi, CA 95241-1480
14343537       +Clutch,    527 Molino Unit # 203,    Los Angeles, CA 90013-2344
14343538       +Color Maker,    1300 N Hancock Street,    Anaheim, CA 92807-1928
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                              Form ID: pdf905               Total Noticed: 271


14343539       +Corporation Service Company,     801 Adlai Stevenson Drive,     Springfield, IL 62703-4261
14343540       +Covance Laboratories, Inc.,     2102 Wright St.,    Madison, WI 53704-2577
14343541       +Creative Compounds,     600 Daugherty Rd.,    PO Box 4011,    Scott City, MO 63780-4011
14343544       +Custom Blow Molding,     946 S. Andreasen DR.,    Escondido, CA 92029-1914
14422657      #+DMitry Karetny,    365 Pamelo Dr. #E1,     Vista, CA 92081-6395
14343545       +Daylight Transport,     CVC Technologies, Inc.,    10861 Business Drive,     Fontana, CA 92337-8235
14439249       +De Lage Landen Financial,     Attn: D DiFilippo,    1111 Old Eagle School Road,
                 Wayne, PA 19087-1453
14343546       +Diana Naturals Inc.,     PO Box 157,    Silverton, OR 97381-0157
14343547       +Direct Food Ingredients, Inc.,     1235 Activity Drive Suite B,     Vista, CA 92081-8562
14353079       +Dongyu USI,    Coface North America Insurance,     650 College Road East, Suite 2005,
                 Princeton, NJ 08540-6779
14343548       +Dongyu USI,    2590 Main St.,    Irvine, CA 92614-6227
14343549        Dynamic Distribution,     546 Jesmond Road,    Fig Tree Pocket,    QLD 4069,    Australia, ME 04014
14343554       +ETHORN,    16050 Canary Avenue,    La Mirada, CA 90638-5585
14343550       +Eirich Machines,    4033 Ryan Rd,     Gurnee, IL 60031-1255
14373515       +Electronic Recycling Center,     2618 Temple Heights Dr.,     Oceanside, CA 92056-3512
14445601        Employment Development Department,      Bankruptcy Group MIC 92E, PO BOX 826880,
                 Sacramento, CA 95814
14343551       +Enzo,    2605 Pinon Ct.,    Grapevine, TX 76051-7176
14343552       +Eriez Manufacturing Company,     2200 Asbury Road,    Erie, PA 16506-1402
14353276       +Euler Hermes N.A.,     800 Red Brook Blvd.,    Owings Mills, MD 21117-5190
14373516       +Evolution Salt Co.,     3310 W. Barker Lane 300-234,     Austin, TX 78758-7853
14343555       +FamVans, Inc,    10870 Kalama River Ave,     Fountain Valley, CA 92708-6003
14373517       +Fastenal Company,    1334 N. Melrose Dr. STE A&B,     Vista, CA 92083-2922
14343556        FedEx,    PO Box 7221,    Pasadena, CA 91109-7321
14343557        FedEx Corporate Services,     Regions Lockbox Services,     C/O FedEx SenseAware,
                 Birmingham, AL 35287-1926
14359995        FedEx Corporate Services, Inc.,      3965 Airways Blvd.,    Module G, 3rd Floor,
                 Memphis, TN 38116-5017
14343558        FedEx Freight,    Dept LA PO Box 21415,     Pasadena, CA 91185-1415
14395563       +Feed Me More,    P.O. Box 752740,     Las Vegas, NV 89136-2740
14343559       +Feed Me More,    2555 W. Centennial Pkwy,     North Las Vegas, NV 89084-5809
14395553       +Fifth Nutrisupply, Inc,     C/O Hui Heidi Liu,    Arbor CPA, APC,    17870 Castleton St. STE 230,
                 City of Industry, CA 91748-6712
14343560       +Fifth Nutrisupply, Inc.,     5595 Daniels St. Unit B,     Chino, CA 91710-9034
14395557       +Financial Pacific Leasing,     C/O CT Lien Solutions,     818 W. Seventh St. STE 930,
                 Los Angeles, CA 90017-3476
14343561       +Financial Pacific Leasing,     C/O CT Lien Solutions,     2727 Allen Parkway,
                 Houston, TX 77019-2120
14363208       +Financial Pacific Leasing, Inc., a Washington Corp,       C/O Spiwak & Iezza, LLP,
                 555 Marin Street, Suite 140,     Thousand Oaks, CA 91360-4103
14343563       +Five Percent Nutrition,     8285 Bryan Dairy Road,    Suite 190,    Largo, FL 33777-1306
14343564        Fredrick W. Kosmo, Jr. Esq.,     Wilson, Turner, Kosmo, LLP,     San Diego, CA 92101
14395559      #+Fredrick W. Kosmo, Jr. Esq.,     Wilson, Turner, Kosmo, LLP,     550 West C. Street #1050,
                 San Diego, CA 92101-3532
14343565       +Fuller Enterprise USA, Inc.,     1735 E. Grevillea Ct.,     Ontario, CA 91761-8092
14343569       +GNT USA,    660 White Plains Road,     Tarrytown, NY 10591-5107
14343566       +General Ingredients Solutions,,      1220 E. Elm Street,    Ontario, CA 91761-4584
14373518       +Genysis Nutrition Labs/VMI,     391 S. Orange Street,     Salt Lake City, UT 84104-3524
14486845       +George Nutting Co Inc,     1907 Dotman Road,    Bainbridge GA 39817-1731
14343567        Glanbia Nutritionals,     c/o Glanbia Business Services,,     Dept 3331,
                 Carol Stream, IL 60132-3331
14343568       +Global Formulas,    27111 Aliso Creek Road,     Ste. 175,    Aliso Viejo, CA 92656-5354
14358105       +Goldstein & McClintock LLLP,     Attn: Brian J. Jackiw,     111 W. Washington,    Suite 1221,
                 Chicago, IL 60602-3482
14343571       +Granite Nutrition,     P.O. Box 1090,    Placentia, CA 92871-1090
14379976       +Granite Nutrition,     30 Waterworks Way,    Irvine, CA 92618-3107
14379975       +Great American Packaging,     4361 S. Soto Street,    Vernon, CA 90058-2311
14373519       +Great American Packaging,     431 S. Soto St., STE B,     Los Angeles, CA 90033
14395564       +Great American Packaging,     C/O Greg Gurewitz,    4361 S. Soto St., STE B,
                 Vernon, CA 90058-2311
14395558       +Green Wave Ingredients,     C/O Michael Magnuson,    13215 Penn Street,    Whittier, CA 90602-1722
14343572       +Green Wave Ingredients,     Ima North America, Inc,     7 New Lancaster Road,
                 Leominster, MA 01453-5224
14380050       +Green Wave Ingredients, Inc.,     c/o Michael S. Magnuson,     13215 Penn Street, Suite 205,
                 Whittier, CA 90602-1749
14343576       +HP Ingredients Corp.,     707 24th Ave. W.,    Bradenton, FL 34205-8272
14386296       +HP Ingredients c/o ESP Receivables,      399 Asbury Drive,    Mandeville, LA 70471-3461
14343577       +HS Biopharmaceuticals, Inc.,     2792 Loker Ave. West Ste 105,     Carlsbad, CA 92010-6615
14343573        Harbor Packaging,    PO Box 844969,     Los Angeles, CA 90084-4969
14343574       +Hawthorne Lift Systems,     1600 E. Missiion Road,    San Marcos, CA 92069-4564
14379889       +Hilmar Cheese Company, Inc.,     PO Box 910,    Hilmar, CA 95324-0910
14373520       +Hilmar Ingredients, Inc.,     8901 N. Lander Ave.,    Hilmar, CA 95324-9327
14343575       +Honey Badger,    3005 S. Lamar Blvd,     Ste D109 #145,    Austin, TX 78704-4785
14373521       +IB Fitness,    C/O Jerome Moe, Esq,     501 W. Broadway, STE 1205,    San Diego, CA 92101-3536
14343578       +Ima North America, Inc,     7 New Lancaster Road,    Leominster, MA 01453-5224
14373522       +Image Fillers,    735 Foxchase, STE 111,     Coatsville, PA 19320-1897
14343579       +Image Fillers, Inc,     735 Fox Chaxe, STE 111,    Coatesvill, PA 19320-1897
14343580       +Infinite Packaging Group,     712 Valley Ridge Circle,     Lewisville, TX 75057-3307
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                              Form ID: pdf905              Total Noticed: 271


14373523       +Innovative Muscle,    633 13thStreet, Unit 41,     San Diego, CA 92154-1060
14395565       +Innovative Muscle, LLC,    C/O Stephen Kerson,     10861 Queensland St.,
                 Los Angeles, CA 90034-3420
14395561       +Inspired Nutraceuticals,     795 E. Factory Dr. STE C,    Saint George, UT 84790-5067
14343581       +Inspired Nutraceuticals,     6242 Warner Ave 9F,    Huntington Beach, CA 92647-5186
14343582       +Integrated Time Systems, LLC,     740 N Plankinton Rd. STE 730,     Milwaukee, WI 53203-2403
14343583       +InterHealth, Inc.,    5451 Industrial Way,     Benicia, CA 94510-1010
14343588       +JJJ Enterprises,    PO Box 463021,    Escondido, CA 92046-3021
14343584       +Jennison Quality Components,     54 Arch Street Extension,    Carnegie, PA 15106-2040
14343586       +Jiaherb Inc.,    1 Chapin Rd. Unit 1,    Pine Brook, NJ 07058-9221
14343587       +Jigsaw,    9035 E Pima Center Parkway,    Suite 3,    Scottsdale, AZ 85258-4410
14421148       +Joseph A. Abramo,    4130 Milano Way,    Oceanside, CA 92057-7649
14343589       +Joseph O’Dea,    3688 Camino de las Lomas,     Vista, CA 92084-6639
14343591       +Joseph Odea,    3688 Camino de las Lomas,     Vista, CA 92084-6639
14343592       +Jost Chemical,    8150 Lackland Road,    Saint Louis, MO 63114-4524
14373524       +KPC Mastercraft International,     300 Brynt Lane,    Woodbury, TN 37190-1630
14422656      #+Katherine Haycook,    480 Dennis Drive,    Vista, CA 92083-7776
14343593        Kelly Services,    PO Box 31001-0422,    Pasadena, CA 91110-0422
14393588       +Kelly Sevices, Inc.,    999 West Big Beaver,     Troy, MI 48084-4716
14343594       +Kevin M. Bell, Esq.,    Porzio, Bromberg @ Newman, PC,     1200 New Hampshire Ave NW, 710,
                 Washington, DC 20036-6827
14343596       +Kyowa Hakko,    600 Third Ave, 19th Floor,     New York, NY 10016-1904
14400522       +LA Leasing, Inc,    600 35th Avenue,    Moline, IL 61265-6145
14343598       +LC Magnetics,    1139 N. Kraemer Place,    Anaheim, CA 92806-1923
14343599        LCA Bank Corporation,    P. O. Box 1650,     Troy, MI 48099-1650
14358104       +Law Office of Nathan A. Schultz, P.C.,     Attn: Nathan A. Schultz,     10621 Craig Road,
                 Traverse City, MI 49686-9221
14343600       +Leak Star Advanced Leak Detect,     PO Box 2333,    Carlsbad, CA 92018-2333
14373525       +Logisticx Fox,    7461 Garden Grove Blvd. Unit A,     Garden Grove, CA 92841-4227
14343612       +MJB Freight Systems, Inc,     6225 Marindustry Dr.,    San Diego, CA 92121-2537
14343613       +MTC Industries, Inc.,    255 Oser Ave,    Hauppauge, NY 11788-3765
14343601       +Marburg Industries Inc.,     1207 Activity Drive,    Vista, CA 92081-8510
14373526       +Marina Teel,    Jerome Moe, Esq.,    501 W. Broadway, STE 1025,     San Diego, CA 92101-3546
14373527       +Markem-Imaje,    P. O. Box 3542,    Boston, MA 02241-3542
14343602       +Marlin Leasing Corporation,     6470 E. Johns Crossing,    Duluth, GA 30097-2511
14343603       +Marlin Leasing Corporation,     300 Fellowship Road,    Mount Laurel, NJ 08054-1727
14343604       +Max Racks, Inc,    3791 Hillside Ave,    Norco, CA 92860-1554
14343605       +MayPro Industries, LLC.,     2975 Westchester Avenue,    Purchase, NY 10577-2518
14410936       +Mayfield Bustarde, LLP,    462 Stevens Ave. Suite 303,     Solana Beach, CA 92075-2066
14343606        McMaster-Carr,    PO Box 7690,    Chicago, IL 60680-7690
14466874       +Melody G. Anderson, Esq.,     WRIGHT LAW GROUP, PLLC,    4470 W. Sunset Blvd. Suite 90003,
                 Los Angeles, CA 90027-6302
14373528       +Metro Fire and Safety,    2733 Via Orange Way, STE 103,     Spring Valley, CA 91978-1748
14343607       +Metrolift,    556 Commerce Street,    Franklin Lakes, NJ 07417-1310
14441604       +Michael B. Lestino,    259 Prospects Plains Road, Building A,      Cranbury, NJ 08512-3706
14343609       +Micro Quality Labs, Inc.,     3120 N Clybourn Ave.,    Burbank, CA 91505-1050
14343610       +Milne Fruit (MicroDried),      P.O. Box 368,    Grandview, WA 98930-0368
14343611       +Mitsubishi International Food,     2200 Fletcher Ave. 5th Fl.,     Fort Lee, NJ 07024-5005
14387511       +Mitsubishi International Food Ingredients, Inc.,      2200 Fletcher Ave. Ste. 503,
                 Fort Lee, NJ 07024-5016
14343614       +Muriello Muscle,    1102 Robinwood Drive,     Oldsmar, FL 34677-4502
14373529        NSF International,    P. O. Box 77000,    Detroit, MI 48277-1380
14343615       +Natreon, Inc,    2-D Janine Place,    New Brunswick, NJ 08901-3646
14343616       +Natural Alternatives Int. Inc.,     1535 Faraday Avenue,    Carlsbad, CA 92008-7319
14343617       +Nature’s Supplements, Inc.,     1342 Rocky Point Drive,    Oceanside, CA 92056-5864
14343619       +Novel Ingredients, Inc.,     72 Deforest Ave.,    East Hanover, NJ 07936-2811
14395554       +Nutraleaf Nutrition,    1780 Lacosta Meadows Dr. Ste 100,     San Marcos, CA 92078-9101
14373530       +Nutriscience,    2450 Reservoir Ave.,    Trumbull, CT 06611-4735
14343622       +Nutrleaf Nutrition,    1780 La Costa Meadows Drive,     San Marcos, CA 92078-9101
14373532       +OSF Flavors, Inc.,    P. O. Box 591,    Windsor, CT 06095-0591
14373531        OmniActive Health Technologies Inc.,     67 East Park ave., Suite 500,     Morristown, NJ 07960
14343623       +OneSource Distributors, LLC,     3951 Oceanic Drive,    Oceanside, CA 92056-5846
14343624       +Ontario Refrigeration,    635 S. Mountain Avenue,     Ontario, CA 91762-4114
14415857       +Orora Packaging Solutions,     dba Manufactured Packaging Products,     6600 Valley View Street,
                 Buena Park, CA 90620-1145
14343625        Orora Packaging Solutions,     PO Box 101150,    Pasadena, CA 91189-1150
14343626       +Package All Corp.,    PO Box 4105,    Rancho Cucamonga, CA 91729-4105
14346206       +PanaSource Ingredients Inc.,     Coface North America Insurance,
                 650 College Road East, Suite 2005,     Princeton, NJ 08540-6779
14343627       +PanaSource Ingredients, Inc.,     98-A Mayfield Avenue,    Edison, NJ 08837-3821
14373533      #+Peek Packaging,    6221 Yarrow Street,    Carlsbad, CA 92011-1550
14343629       +Pharma Resources Inc.,    C/O Dixit Law Firm, PA,     3030 N. Rocky Pt. DR. W. #260,
                 Tampa, FL 33607-5902
14343630        Pharmachem Labs,    2929 East White Star Ave,     Anaheim, CA 92806-2628
14343631       +Platinum Bear,    1890 Pinto Circle,    Gardnerville, NV 89410-6819
14343632       +PlusPharma, Inc,    2611 Commerce Way, Suite A,     Vista, CA 92081-8455
14343633       +Prescott/Patnode,    3011 Deeb Court,    Vista, CA 92084-6565
14402090       +Pretium Packaging LLC,    15450 South Outer Forty Ste 120,     Chesterfield, MO 63017-2062
14343634       +Primeval Nutrition,    70 Batesville Blvd. Ste. A,     Batesville, AR 72501-8972
14373534        Prinova,    36780 Eagle Way,    Chicago, IL 60678-1367
      Case 17-06078-MM7          Filed 07/24/19     Entered 07/26/19 21:19:07        Doc 322      Pg. 6 of 8



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                              Form ID: pdf905              Total Noticed: 271


14395562       +Pro-Scape, Inc.,    C/O Michael L. Helms,     1441 York Dr.,   Vista, CA 92084-7609
14343635       +Pro-Scape, Inc.,    510 Venture Street,     Escondido, CA 92029-1212
14373535       +Pure Valley Nutrition,     403 Arrow Hwy, Ste 306,    San Dimas, CA 91773-3367
14360347       +Pyure Brands, LLC,    c/o Harris J. Koroglu, Esq.,     Shutts & Bowen LLP,
                 200 S. Biscayne Blvd., Suite 4100,     Miami, FL 33131-2362
14343640       +RJ Van Drunen & Sons, Inc,     300 W 6th Street,    Momence, IL 60954-1136
14343645       +RS HUGHES CO INC,    2575 PIONEER AVE STE 102,     Vista, CA 92081-8450
14343646       +RSP,   3381 NW 168th Street,     Opa Locka, FL 33056-4229
14343638       +Rancho California Center, LP,     1656 Bahia Vista Way,    La Jolla, CA 92037-7852
14451099       +ReadyRefresh by Nestle,     c/o Amy Curtis,    375 Paramount Dr,    Raynham, MA 02767-5154
14343639        ReadyRefresh by Nestle,     PO Box 856158,    Louisville, KY 40285-6158
14416385       +Richard W. Bass,    3633 Indiana St. #9,     San Diego, CA 92103-4664
14343641       +Robert Bailly,    20 La Flauta,    Rancho Santa Margarita, CA 92688-3224
14343643      #+Robert Bailly,    73 Northern Pine Loop,     Aliso Viejo, CA 92656-6034
14343642       +Robert Bailly,    4645 North Ave,    Oceanside, CA 92056-3593
14343647       +Sabinsa,    20 Lake Drive,    East Windsor, NJ 08520-5321
14373536       +Saminchem Inc.,    3225 Grapevine St,     Mira Loma, CA 91752-3502
14466838       +San Diego County Treasurer Tax Collector,      Attn: Bankruptcy Desk,
                 1600 Pacific Highway Room 162,     San Diego, CA 92101-2477
14343648      #+SeaTech Bioproducts Corp.,     159 Memorial Dr. Unit C,    Shrewsbury, MA 01545-6202
14343649       +Sedona Staffing,    600 35th Avenue,    Moline, IL 61265-6145
14343650        Select Staffing,    PO Box 512007,    Los Angeles, CA 90051-0007
14343651       +Sensaware By FedEx,     FedEx Corporate Services, Inc,    3640 Hacks Cross Rd. Bldg. D,
                 Memphis, TN 38125-8800
14373537       +Sensient,    777 East Wisconsin Ave,    Milwaukee, WI 53202-5304
14373538        Seppic Inc.,    P. O. Box 101654,    Pasadena, CA 91189-1654
14358550       +Seppic, Inc.,    Coface North America Insurance Company,     50 Millstone Rd., Bldg. 100, Ste. 360,
                 East Windsor, NJ 08520-1415
14373539       +Seven Labs,    1420 Decision, STE C,    Vista, CA 92081-8576
14343652       +Shanghai Freeman,    377 Hoes Lane, Suite 240,     Piscataway, NJ 08854-4138
14368239       +Shanghai Freemen Lifescience Co., LTD,      Brown & Joseph ltd.,    c/o Don Leviton,
                 P.O. Box 59838,    Schaumburg, IL 60159-0838
14343654        Stauber Ingredients,     4120 N. Palm Street,    Fullerton, CA 92835-1026
14350738       +Stauber Ingredients,     4645 North Ave.,    Oceanside, CA 92056-3593
14343655       +Steven J. Cote Esq,     Chang & Cote LLP,    19138 Walnut Drive, Suite 100,
                 Rowland Heights, CA 91748-1432
14373540       +Stryka Botanicals,    279 Homestead Road,     Hillsborough, NJ 08844-1907
14343656       +Superior Labs,    9921 Carmel Mountain Rd. #297,     San Diego, CA 92129-2813
14343657       +The Western Group,    3950 NW St. Helens Rd,     Portland, OR 97210-1423
14343661    ++++UNGERER & COMPANY,    4 UNGERER WAY,    LINCOLN PARK NJ 07035-1449
               (address filed with court: Ungerer & Company,       4 Bridgewater Lane,    Lincoln Park, NJ 07035)
14373543      #+UPS,   P. O. Box 1012,     Horsham, PA 19044-8012
14343662       +UniChem Enterprises, Inc.,     1905 S. Lynx Pl,    Ontario, CA 91761-8055
14343663       +UniFirst,    4041 Market Street,    San Diego, CA 92102-4593
14415403       +Unifirst Corporation,     Attn: Accounts Receivable,    68 Jonspin Road,
                 Wilmington, MA 01887-1086
14373542       +United Fire Group,    118 Second Ave SE,     Cedar Rapids, IA 52401-1253
14374702       +Van Drunen Farms,    Attn: Stephanie J. Harris,     33 N. Dearborn Street, Suite 340,
                 Chicago, IL 60602-3965
14373544       +Vanadium Interactive,     9277 Research Drive,    Irvine, CA 92618-4286
14343666       +Vitajoy USA Inc.,    14165 Ramona Avenue Chino, CA,     Chino, CA 91710-5753
14343667      #+Vitalah,    41 Hangar Way,    Watsonville, CA 95076-2458
14343668        Volt Management Corp,     P.O. Box 679307,    Dallas, TX 75267-9307
14370062       +Volt Management Corp.,     c/o Terry Jordan,    2421 N. Glassell St.,    Orange, CA 92865-2705
14343669       +Volt Workforce Solutions,     Attn: Director of Contracts,    2401 North Glassell St.,
                 Orange, CA 92865-2705
14373545        Waseta Int. Trading Co. Ltd.,     Room 2001-2002-,    Golden Eagle Edifice B # 1518,
                 Min Sheng Rd. Shanghai China
14412459       +Wells Fargo Vendor Financial Services, LLC,      1010 Thomas Edison Blvd., SW,
                 Cedar Rapids, IA 52404-8247
14343670       +Wesco Security Systems, Inc.,     PO Box 1108,    Placentia, CA 92871-1108
14343673        Wixon,    PO Box 88533,    Milwaukee, WI 53288-0533
14442418       +Wixon, Inc,    1390 E Bolivar Ave,    St. Francis, WI 53235-4521

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: Credit.Application@BerlinPackaging.com Jul 25 2019 03:04:48
                 Berlin Packaging L.L.C.,   525 West Monroe Street,    Chicago, IL 60661-3648
14350615       +E-mail/Text: sflack@airliteplastics.com Jul 25 2019 03:04:40      Airlite Plastics Co.,
                 Attn: Shona Flack,   6110 Abbott Drive,    Omaha, NE 68110-2834
14343508        E-mail/Text: sflack@airliteplastics.com Jul 25 2019 03:04:40      Airlite Plastics, Co.,
                 PO Box 8400,   Omaha, NE 68108-0400
14343511        E-mail/Text: ally@ebn.phinsolutions.com Jul 25 2019 03:03:37      Ally,   P. O. Box 9001948,
                 Louisville, KY 40290-1948
14349069        E-mail/Text: ally@ebn.phinsolutions.com Jul 25 2019 03:03:37      Ally Financial,
                 PO Box 130424,   Roseville MN 55113-0004
14363148        E-mail/Text: wthomas@cabcollects.com Jul 25 2019 03:03:34      Creditors Adjustment Bureau, Inc.,
                 14226 Ventura Blvd.,   Sherman Oaks, CA 91423
14350363       +E-mail/Text: ustp.region15@usdoj.gov Jul 25 2019 03:03:59      DAVID A. ORTIZ,
                 OFFICE OF THE UNITED STATES TRUSTEE,    880 FRONT STREET, SUITE 3230,
                 SAN DIEGO, CA 92101-8897
      Case 17-06078-MM7           Filed 07/24/19      Entered 07/26/19 21:19:07         Doc 322     Pg. 7 of 8



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                               Form ID: pdf905               Total Noticed: 271


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(continued)
14343553       +E-mail/Text: jdelgadillo@ernestpkg.com Jul 25 2019 03:04:34       Ernest Packaging Solutions,
                 1345 Sycamore Avenue,    Vista, CA 92081-7810
14376514       +E-mail/Text: rudolph@sullivanhill.com Jul 25 2019 03:04:34       Gary B. Rudolph, Esq.,
                 SULLIVAN HILL LEWIN REZ & ENGEL, APLC,    550 West C Street, Suite 1500,
                 San Diego, CA 92101-3570
14363150        E-mail/Text: cio.bncmail@irs.gov Jul 25 2019 03:03:50       Internal Revenue Service,
                 PO Box 7346,   Philadelphia, PA 19101-7346
14376724       +E-mail/Text: rudolph@sullivanhill.com Jul 25 2019 03:04:34       Joseph O’Dea,
                 c/o Gary B. Rudolph, Esq.,    SULLIVAN HILL LEWIN REZ & ENGEL, APLC,
                 550 West C Street, Suite 1500,    San Diego, CA 92101-3570
14343608       +E-mail/Text: mike@schulmanlawoffices.com Jul 25 2019 03:03:32       Michael D. Schulman, Esq.,
                 18757 Burbank Blvd. STE 310,    Tarzana, CA 91356-3393
14343618       +E-mail/Text: g.sourceau@naturex.com Jul 25 2019 03:03:39       Naturex, Inc.,    375 Huyler Street,
                 South Hackensack, NJ 07606-1532
14343628       +E-mail/Text: stephanie@patvitamins.com Jul 25 2019 03:04:40       PAT Vitamins, Inc.,
                 1751 Curtiss Court,    La Verne, CA 91750-5852
14493082       +E-mail/Text: legalcollections@sefl.com Jul 25 2019 03:04:17       Southeastern Freight Lines Inc.,
                 PO Box 1691,   Columbia, SC 29202-1691
14343659       +E-mail/Text: JLRANDOW@TICGUMS.COM Jul 25 2019 03:04:48       Tic Gums,    4609 Richlynn Drive,
                 Belcamp, MD 21017-1228
14373541       +E-mail/Text: accounts.receivable@uline.com Jul 25 2019 03:04:23        Uline,
                 2200 S. Lakeside Dr.,    Waukegan, IL 60085-8311
14439682       +E-mail/Text: accounts.receivable@uline.com Jul 25 2019 03:04:23        Uline Shipping Supplies,
                 12575 Uline Drive,    Pleasant Prairie, WI 53158-3686
14466855       +E-mail/Text: ustp.region15@usdoj.gov Jul 25 2019 03:03:59       United States Trustee,
                 880 Front Street, Suite 3230,    San Diego, CA 92101-8897
14343665        E-mail/Text: scott.erickson@univarusa.com Jul 25 2019 03:04:38       Univar USA, Inc.,
                 PO BOX 34325,   Seattle, WA 98124-1325
14343671       +E-mail/Text: rick@westcoastenvironmental.com Jul 25 2019 03:04:49        West Coast Environmental,
                 2323 Chico Ave, STE 3,    South El Monte, CA 91733-1634
14343672       +E-mail/Text: manderson@westcochemicals.com Jul 25 2019 03:04:00        Westco Chemicals, Inc,
                 12551 Saticoy Street South,    North Hollywood, CA 91605-4312
                                                                                               TOTAL: 22

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr               Michael D. Schulman,    18757 Burbank Blvd.,    Suite 310,    Tarzana
cr               PanaSource Ingredients Inc.
14373511         Bestcom (Wuxi) Biotech Co. Ltd,     Room 502, No. 5,    Zhihui Rd., Huishen Dist.,
                  Wuki City, Jiangsu Prov.
14343530         Bradley J Knudson
14343562         Financial Pacific Leasing
14343595         Konica Minolta Premier Finance
14343653         Shri Kartikeya Pharma,    D. No. 5-9-225, 3rd floor,     Sanali Estate, Chirag Ali Lane,
                  Andhrapradesh
14343664         Unipharm
cr*            ++CREDITORS ADJUSTMENT BUREAU INC,      ATTN WENDY THOMAS,    14226 VENTURA BLVD,
                  SHERMAN OAKS CA 91423-2777
                (address filed with court: Creditors Adjustment Bureau, Inc.,,        14226 Ventura Blvd.,
                  Sherman Oaks, CA 91423)
cr*             +Direct Food Ingredients, Inc.,     1235 Activity Drive Suite B,     Vista, CA 92081-8562
cr*             +Dongyu USI,    Coface North America Insurance,    650 College Road East, Suite 2005,
                  Princeton, NJ 08540-6779
14402291*       +Fredrick W. Kosmo, Jr. Esq.,     Wilson, Turner, Kosmo, LLP,    550 West C. Street #1050,
                  San Diego, CA 92101-3532
14395556*       +Granite Nutrition,    30 Waterworks Way,    Irvine, CA 92618-3107
14395555*       +Nutraleaf Nutrition,    1780 Lacosta Meadows Dr. Ste 100,     San Marcos, CA 92078-9101
14399318*        Seppic Inc.,    P. O. Box 101654,    Pasadena, CA 91189-1654
14413947      ##+Andrew B. Levin,    Winthrop Couchot Golubow Hollander, LLP,
                  660 Newport Center Drive, uite 400,     Newport Beach, CA 92660-6427
14373510      ##+BDS Naturals,    2779 El Presidio St.,    Carson, CA 90810-1118
14365100      ##+Glanbia Business Services, Inc.,     975 Meridian Lake Drive,     Aurora, IL 60504-4930
14343570      ##+Golden Globe Group, LLC,    13567 OLD EL CAMINO REAL,     San Diego, CA 92130-3163
14343585       ##Jennison Quality Components, I,     54 Arch Street Extension,     P.O. Box 861,
                  Carnegie, PA 15106-0861
14343590      ##+Joseph Odea,    4645 North Ave.,    Oceanside, CA 92056-3593
14343597      ##+Layn USA, Inc,    20250 Acacia St.,    Suite 105,    Newport Beach, CA 92660-1736
14343620      ##+NuLiv Science USA,    255 Paseo Tesoro,    Walnut, CA 91789-2724
14343621      ##+Nutriom, LLC.,    3145 Hogum Bay Rd. NE,    Lacey, WA 98516-3110
14343636      ##+Providence Capital Funding,    3020 Saturn Street,     Suite 203,    Brea, CA 92821-6262
14343637      ##+Pyure Brands, LLC,    2277 Trade Center Way, Ste 101,     Naples, FL 34109-2010
14343644      ##+Royalty Nutrition,    100 West 5th Street #4F,    Long Beach, CA 90802-2363
14343658      ##+ThermoFisher Scientific,    81 Wyman Street,    Waltham, MA 02451-1223
14343660      ##+Tristar Machinery,    1287 Naperville Drive,    Romeoville, IL 60446-1187
                                                                                                 TOTALS: 8, * 7, ## 14

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
        Case 17-06078-MM7                Filed 07/24/19         Entered 07/26/19 21:19:07                Doc 322         Pg. 8 of 8



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                                      Form ID: pdf905                    Total Noticed: 271


              ***** BYPASSED RECIPIENTS (continued) *****

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Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
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Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 26, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 24, 2019 at the address(es) listed below:
              Christopher V. Hawkins    on behalf of Interested Party Joseph O’Dea hawkins@sullivanhill.com,
               hill@sullivanhill.com;millerick@sullivanhill.com;bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy
               .com;hawkins@ecf.inforuptcy.com
              David Ortiz     on behalf of United States Trustee    United States Trustee david.a.ortiz@usdoj.gov,
               USTP.REGION15@USDOJ.GOV;tiffany.l.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.gov
              Gary B. Rudolph    on behalf of Interested Party Joseph O’Dea rudolph@sullivanhill.com,
               hill@sullivanhill.com;millerick@sullivanhill.com;bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy
               .com;rudolph@ecf.inforuptcy.com
              Gary E. Slater    on behalf of Attorney    Slater & Truxaw, LLP ges@slatertruxaw.com,
               grl@slatertruxaw.com;lmb@slatertruxaw.com
              Gary E. Slater    on behalf of Trustee Richard M Kipperman ges@slatertruxaw.com,
               grl@slatertruxaw.com;lmb@slatertruxaw.com
              Harris J. Koroglu    on behalf of Creditor    Pyure Brands, LLC hkoroglu@shutts.com
              J. Alexandra Rhim    on behalf of Creditor    Bank of America, N.A. arhim@hemar-rousso.com,
               tdunn@hemar-rousso.com
              James R. Selth    on behalf of Interested Party Joseph O’Dea jim@wsrlaw.net,
               jselth@yahoo.com;vinnet@ecf.inforuptcy.com
              Mette Kurth     on behalf of Debtor   Core Supplement Technology, Inc. mkurth@foxrothschild.com
              Richard M Kipperman    teresaj@corpmgt.com, ca82@ecfcbis.com
              Stephen C. Hinze    on behalf of Debtor    Core Supplement Technology, Inc. sch@schinzelaw.com
              Timothy J. Truxaw    on behalf of Trustee Richard M Kipperman tjt@slatertruxaw.com,
               grl@slatertruxaw.com
              United States Trustee    ustp.region15@usdoj.gov
              Wayne R. Terry    on behalf of Creditor    Bank of America, N.A. wterry@hemar-rousso.com,
               mgranzow@hemar-rousso.com
              Yosina M. Lissebeck    on behalf of Attorney Melissa Bustarde ylissebeck@lissebecklaw.com,
               ylissebeck@ecf.inforuptcy.com
                                                                                              TOTAL: 15
